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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-158 (RBW)
                                     )
KYLE FITZSIMONS,                     )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

May 21, 2021, via teleconference, it is hereby

       ORDERED that the parties shall appear before the Court for a status hearing on

June 8, 2021, at 9:30 a.m., via teleconference by calling 1-877-873-8017 and entering the

Court’s access code (8583213) followed by the pound key (#). It is further

       ORDERED that, with the consent of the parties, the time from May 21, 2021, until the

status hearing scheduled for June 8, 2021, is excluded under the Speedy Trial Act, in light of the

fact that the defendant and his counsel require additional time to review the discovery that the

government has produced in this case.

       SO ORDERED this 24th day of May, 2021.



                                                              ________________________
                                                              REGGIE B. WALTON
                                                              United States District Judge
